         Case 1:22-cr-01907-WJ             Document 108           Filed 03/07/24         Page 1 of 8




                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO
                                   ____________________

UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                                   Case No. 1:22-cr-1907-WJ

MAURICE LACEY,

        Defendant.

                    MEMORANDUM OPINION AND ORDER
                  GRANTING IN PART AND DENYING IN PART
     THE UNITED STATES’ MOTIONS TO EXCLUDE ARGUMENTS AND EVIDENCE

        THIS MATTER is before the Court on several motions in limine filed by the United States

to exclude certain Defense arguments and evidence (Docs. 99, 101, 102, 103, 104). No response

is necessary1 to resolve these the instant pleadings—as they simply ask for compliance with the

Federal Rules of Evidence and Federal Rules of Criminal Procedure. Because the Court finds these

rules‑based motions are well-taken, they will be GRANTED IN PART and DENIED IN PART.

                                           APPLICABLE LAW

        Any evidence sought to be admitted at trial must be relevant. Relevant evidence is that

which tends to “make a fact more or less probable than it would be without the evidence; and the

fact is of consequence in determining the action.” Fed. R. Evid. 401; see Old Chief v. United States,

519 U.S. 172, 177 (1997). That being said, a district court may exclude relevant evidence if its

probative value is substantially outweighed by a danger of unfair prejudice, confusing the issues,

misleading the jury, or needlessly presenting cumulative evidence. See Fed. R. Evid. 403. “The

trial court has broad discretion to determine whether or not prejudice inherent in otherwise relevant


1
 This Memorandum Opinion and Order only disposes of run of the mill motions to exclude. The Court will wait until
briefing is complete before taking up the Rule 404(b) and prior conviction motions (Docs. 97 & 100).
        Case 1:22-cr-01907-WJ         Document 108         Filed 03/07/24     Page 2 of 8




evidence outweighs its probative value.” United States v. Youts, 299 F.3d 1312, 1319 (10th Cir.

2000) (citing United States v. Esch, 832 F.2d 531, 535 (10th Cir. 1987)).

       Furthermore, a district court has broad discretion to determine whether evidence is

relevant—and to exclude irrelevant evidence. United States v. Serrata, 425 F.3d 886, 901 (10th

Cir. 2005); see also United States v. Mann, 884 F.2d 532, 537 (10th Cir. 1989). This discretion

also applies to the handling of evidentiary questions and presentation of proof. See United States

v. Rackley, 986 F.2d 1357, 1362 (10th Cir. 1993); cf. Fed. R. Evid. 104(a) (“[t]he court must decide

any preliminary question about whether . . . evidence is admissible.”); Fed. R. Evid. 611(a)

(empowering courts to exercise “reasonable control” over mode and presentation of evidence).

                                          DISCUSSION

I. Motions to Exclude Various Defense Arguments

       The United States’ pleadings seek to exclude: (1) factually unsupported defenses; (2)

hearsay; (3) sentences or penalties; (4) irrelevant personal beliefs; and (5) undisclosed evidence.

See Docs. 99, 101, 102, 103, 104. Several of the requests simply ask for compliance with the

Federal Rules of Evidence or Federal Rules of Criminal Procedure. As such, they are ready for

adjudication—or as ready as they can be. Some of the requests, as discussed below, must DENIED

without prejudice as unripe. For those rulings, the parties can—and should—raise specific

objections whenever—if ever—those issues arise during the course of trial.

       The Court now addresses each request in turn.

A. Precluding the defense of necessity or justification

       At the outset, the United States seeks to prohibit Defendant from arguing “a defense of

necessity or justification.” Doc. 99 at 1. As understood by the prosecution, Defendant is likely to

claim “that Jane Doe or members of her family were drugging him and he suspected a sinister plot



                                                 2
         Case 1:22-cr-01907-WJ               Document 108            Filed 03/07/24         Page 3 of 8




to harm, or potentially kill, him, such that he felt compelled to shoot Jane Doe.” Id. at 2.

        Importantly, the Court notes that a Defendant does not have an “absolute right” to present

the defenses of coercion, duress, or necessity at trial. See United States v. Portillo-Vega, 478 F.3d

1194, 1200–01 (10th Cir. 2007). Part of a trial court’s gate-keeping responsibilities hinge upon

allowing or precluding affirmative defenses. United States v. Al-Rekabi, 454 F.3d 1113, 1125 (10th

Cir. 2006). And unless the Defendant is able to carry his burden on all the elements of an

affirmative defense—the instruction should be denied. Portillo-Vega, 478 F.3d at 1197–99 (citing

United States v. Bailey, 444 U.S. 394, 417 (1980)); see also United States v. Butler, 485 F.3d 569,

571–72 (10th Cir. 2007) (explaining a “criminal defendant is entitled to jury instructions

concerning his theory of the case,” so long as it is “supported by the evidence and the law”).

        The Tenth Circuit uses “the terms duress, necessity, and justification interchangeably.”

Butler, 485 F.3d at 572, n.1 (citing United States v. Leahy, 473 F.3d 401, 406 (3d Cir. 2007)); see

also 10th Cir. Crim. Pattern Jury Instr. 1.36 (2021 ed., last updated July 14, 2023) (COERCION

OR DURESS).2 The burden is on the Defendant to prove by a preponderance of the evidence (Doc.

99 at 3). See Dixon v. United States, 548 U.S. 1, 17 (2006).

        The affirmative defenses of necessity and justification are based on objective

reasonableness. See United States v. Dixon, 901 F.3d 1170, 1181 (10th Cir. 2018). As such, the

Defendants’ “subjective beliefs are not controlling. Id. Thus, Defendant’s argument that he “had”

to shoot Jane Doe to avoid being poisoned does not give rise to this defense. See Doc. 40 at ¶ 5;

Doc. 92. Al-Rekabi, 454 F.3d at 1121 (citing United States v. Scull, 321 F.3d 1270, 1275 (10th Cir.



2
  The Tenth Circuit Pattern Jury Instructions provide three elements for this defense: (1) the defendant was under an
unlawful and present, imminent and impending threat of such a nature as to induce a well-grounded apprehension of
death or serious bodily injury to himself [or a family member, or others]; (2) the defendant had no reasonable, legal
alternative to violating the law, that he had no chance both to refuse to do the criminal act and also to avoid the
threatened harm; and (3) a direct causal relationship could have been reasonably anticipated between engaging in the
criminal action and avoiding the threatened harm.

                                                         3
          Case 1:22-cr-01907-WJ        Document 108         Filed 03/07/24      Page 4 of 8




2003)).

          If a criminal defendant had an opportunity to avoid the criminal act without danger to

himself, he is not entitled to the instruction or defense. See Shannon v. United States, 76 F.2d 490,

493 (10th Cir. 1935); United States v. Boomer, 571 F.2d 543, 545 (10th Cir. 1978) (same); see

also United States v. Meraz-Valeta, 26 F.3d 992, 995 (10th Cir. 1994) (holding a defendant must

establish that “there [was] no legal alternative to violating the law” before availing himself of a

necessity defense). As it stands, Defendant cannot establish that “all of his legal alternatives for

avoiding the imminent threat were foreclosed.” United States v. Saldivar-Munoz, 439 F. App’x

730, 735 (10th Cir. 2011) (unpublished). Quite simply, these would-be affirmative defenses are

inapplicable here.

          The Court finds this motion is well‑taken and should be GRANTED. The Court will, of

course, hear the parties on this issue again during the course of drafting jury instructions.

B. Excluding self-serving hearsay

          The United States seeks to prohibit Defendants from “eliciting testimony or otherwise

introducing evidence, either during direct examination or cross-examination, of Defendant’s

self‑serving out-of-court statements.” Doc. 101 at 1. While true that there is no hearsay exception

that allows a Defendant “to introduce into evidence his own out-of-court exculpatory statements,”

the Court has no way of knowing what statements—if any—Defendant may seek to introduce.

United States v. Larsen, 175 F. App’x 236, 241 (10th Cir. 2006) (unpublished). The United States’

motion contains no specific hearsay statements—instead requesting the Court exclude hearsay. In

so doing, the United States is asking the Court to make broad rulings on vague disputes without

context. Because the Court declines to issue an advisory opinion to a nonspecific standing hearsay

objection, this part of United States’ motion is DENIED without prejudice as unripe.



                                                  4
         Case 1:22-cr-01907-WJ               Document 108            Filed 03/07/24          Page 5 of 8




         The United States may raise hearsay objections at trial if, and when, appropriate. See

United States v. Calderon, No. 22-113, 2022 U.S. Dist. LEXIS 222585, at *2 (D.N.M. Dec. 9,

2022) (Johnson, C.J.). Put another way—the hearsay rules will apply to all parties at trial. In this

respect, the Court GRANTS IN PART and DENIES IN PART the motion to exclude self-serving

hearsay.

         The Court will apply the Federal Rules of Evidence at trial. Counsel may object throughout

trial as necessary and appropriate. Any such arguments about the admissibility of hearsay evidence

should be made outside the presence of the jury.

C. Excluding references to potential sentences, penalties, or punishment

         The United States asserts that any reference to potential penalties, sentences, or punishment

should be excluded at trial (Doc. 102 at 1). Such a request is unequivocally aligned with Supreme

Court and Tenth Circuit3 precedent. See Shannon v. United States, 512 U.S. 573, 579 (1994)

(explaining the jury’s function is not to impose a sentence); United States v. Greer, 620 F.2d 1383,

1384–85 (10th Cir. 1980) (“A jury is obligated to reach its verdict without regard to what sentence

might be imposed.”). The Court has no discretion to depart from well-established precedent.

         The United States’ argument is well‑taken. Defendant, as well as the United States, are

therefore prohibited from “making any statement or argument . . . that implicated Defendant’s

potential sentence while the jury is present.” Doc. 102 at 3. The Court GRANTS the United States’


3
  Although less weighty, the District of New Mexico has a plethora of opinions on this exact point—all of which
prohibited evidence or argument about potential punitive exposure from being presented to the jury. See e.g., United
States v. Bustamante-Conchas, No. 13-cr-2028, 2014 U.S. Dist. LEXIS 198234, at *1–4 (D.N.M. June 30, 2014)
(Parker, J.); United States v. Almanza-Vigil, No. 15-cr-2605, 2015 U.S. Dist. LEXIS 196658, at *9, 11 (D.N.M. Dec.
10, 2015) (Brack, J.); United States v. Edwards, 266 F. Supp. 3d 1290, 1330–31 (D.N.M. 2017) (Browning, J.); United
States v. Coriz, No. 17‑cr‑1105, 2019 U.S. Dist. LEXIS 79108, at *13 (D.N.M. May 10, 2019) (Herrera, J.); United
States v. Thompson, 543 F. Supp. 3d 1156, 1160–61 (D.N.M. 2021) (Vázquez, J.); United States v. Clay, No.
22‑cr‑1841, 2023 U.S. Dist. LEXIS 73771, at *7 (D.N.M. Apr. 25, 2023) (Gonzales, J.) (“The jury’s role is to
determine guilt or innocence, not to engage in sentencing.”); United States v. Rivera, No. 20-cr-1484, 2022 U.S. Dist.
LEXIS 135923, at *1–2 (D.N.M. Aug. 1, 2022) (Riggs, J.); United States v. Columbie, No. 18-cr-2648, 2022 U.S.
Dist. LEXIS 212048, at *2–3 (D.N.M. Nov. 22, 2022) (Urias, J.).

                                                          5
         Case 1:22-cr-01907-WJ                Document 108            Filed 03/07/24          Page 6 of 8




motion to exclude such evidence or argument.

D. Excluding Defendant’s beliefs about the Second Amendment

         Arguing “I thought the law applied differently than it does” is not relevant—let alone a

defense to prosecution. United States v. Capps, 77 F.3d 350, 353 (10th Cir. 1996); see also United

States v. Rampton, 762 F.3d 1152, 1157 (10th Cir. 2014) (citing Cheek v. United States, 498 U.S.

192, 199 (1991)). Argument from the Defendants that they were unaware they violated the law is

no defense. See United States v. Games-Perez, 667 F.3d 1136, 1142 (10th Cir. 2012) (explaining

a defendant’s lack of knowledge of the “legal consequences” of his actions is “simply ignorance

of the law, which . . . has never excused disobeyance of a law”).

         Here, the United States seeks to exclude evidence or arguments that Defendant believes

felons “can or should be permitted to possess firearms,”4 or other “mistake of law” arguments.

Doc. 103 at 1. The case law is clear on this point—the United States “need not prove a Defendant

knew his status . . . prohibited him from possessing a firearm.” United States v. Benton, 988 F.3d

1231, 1232 (10th Cir. 2021) (cleaned up); see also Braswell v. United States, 224 F.2d 706, 710

(10th Cir. 1955) (holding that a Defendant’s “ignorance or mistake of law” regarding his status as

a prohibited person for a firearm offense “is no defense”).

         “It is the Court’s duty to instruct the jury as to what the law is,” which makes Defendant’s

belief “as to what the Second Amendment means” irrelevant. United States v. Warwick, No.

16‑cr‑4572, 2017 U.S. Dist. LEXIS 180351, at *4 (D.N.M. Oct. 30, 2017). Because both the Rules


4
  To the extent Defendant wishes to raise any such argument, the Court will consider it in his Response to the
Government’s felony convictions motion (Doc. 100). Outside of that context, the Court will not entertain Defendant’s
interpretation of the law—as the case law is quite clear that felon in possession statute is constitutional. See Vincent
v. Garland, 80 F.4th 1197, 1199 (10th Cir. 2023) (concluding Bruen did not overrule circuit precedent); United States
v. McCane, 573 F.3d 1037, 1047 (10th Cir. 2009) (upholding the constitutionality of 922(g)(1) offense after Heller);
see also United States v. Willis, 2024 U.S. App. LEXIS 4740 (10th Cir. 2024) (unpublished) (reaffirming the
constitutionality of 922(g)(1) felon in possession).
          Assuming Defendant files a motion or otherwise raises an objection to the constitutionality of 18 U.S.C.
§ 922(g)(1), such objection would preserve his arguments—even if meriting no relief by this Court.

                                                           6
        Case 1:22-cr-01907-WJ            Document 108     Filed 03/07/24      Page 7 of 8




of Evidence and binding case law support the United States’ position, the request must be granted.

       Accordingly, the United States’ motion to exclude Defendant’s mistake of law or mistaken

beliefs regarding the Second Amendment is GRANTED.

E. Excluding defense exhibits under Rule 16

       The United States also seeks to preclude Defendant and standby counsel from “asking any

question, introducing any evidence, or making any statement or argument” regarding exhibits not

previously provided (Doc. 104 at 1). Yet, the Court’s Order and Notice of Trial (Doc. 79) does not

require exhibit lists to be finalized until “TWO (2) WEEKS prior to trial.” Doc. 79‑1 at 1.

       The fact that “Defendant has not provided any reciprocal discovery” is unavailing (Doc.

104 at 1). At this point, a lack of defense exhibits could mean that no defense exhibits will be

introduced. It could, as the United States contends, also mean Defendant is not—or will not—

comply with the discovery order and Rule 16. The Court has no way of knowing.

       As of now, this request is DENIED without prejudice because it is unripe.

       Nevertheless, the Court reminds the parties of their reciprocal discovery obligations

pursuant to Federal Rule of Criminal Procedure 16(d)(2) and will reconsider this ruling, if

necessary, during the course of trial.

                                          CONCLUSION

       The Court acknowledges the United States’ request to exclude hearsay, inappropriate legal

standards, and exhibits are firmly rooted in both the Rules of Evidence and the Rules of Criminal

Procedure. But given the lack of specificity, some of these motions to exclude are premature. The

Court anticipates—and requires—that all parties will follow the rules of evidence, controlling case

law, and the Court’s rulings.




                                                7
Case 1:22-cr-01907-WJ        Document 108      Filed 03/07/24     Page 8 of 8




IT IS THEREFORE ORDERED that:

1. The United States’ Motion in Limine to Exclude the Defense of Necessity or

   Justification (Doc. 99) is GRANTED;

2. The United States’ Motion in Limine to Exclude Self-Serving Hearsay Statements

   (Doc. 101) is GRANTED in part and DENIED in part;

3. The United States’ Motion in Limine to Exclude Evidence of Possible Penalties (Doc.

   102) is GRANTED;

4. The United States’ Motion in Limine to Exclude Evidence of Defendant’s Personal

   Beliefs About the Second Amendment (Doc. 103) is GRANTED; and

5. The United States’ Motion in Limine to Exclude Defense Exhibits Not Previously

   Provided (Doc. 104) is DENIED without prejudice as unripe.

IT IS SO ORDERED.


                                   _____________________________________
                                   CHIEF UNITED STATES DISTRICT JUDGE




                                      8
